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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RICHARD L. FOGEL,

Plaintiff,

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Case No.:

Vv,
GORDON & GLICKSON, P.C., an Illinois
Professional Corporation, GORDON &
GLICKSON, L.L.C., an Illinois Limited Liability

Corporation, and MARK L. GORDON,
SCOTT L. GLICKSON, PHILIP P. Mc GUIGAN,

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DIANA J.P. McKENZIE, MICHAEL E.C. MOSS, CS o
and STUART SMITH, ay ‘3
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Defendants. pS BIBS

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COMPLAINT AT LAW De OF i

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attorneys MARK S. GROTEFELD and SHANTEL D. WOOD of GROTEFELD & DENENBERG,
L.L.C., and as his Complaint at Law against Defendants, GORDON & GLICKSON, P.C., an Illinois
Professional Corporation (hereinafter, "P.C."), GORDON & GLICKSON, L.L.C., an Illinois Limited
Liability Corporation (hereinafter, "L.L.C."), and MARK L. GORDON, SCOTT L. GLICKSON,
PHILIP P. McGUIGAN, DIANA J.P. McKENZIE, MICHAEL E.C, MOSS, and STUART SMITH,

(hereinafter, "Equity Holders"), states as follows:

JURISDICTION

Jurisdiction is founded upon diversity of citizenship pursuant to 28 U.S.C. § 1332. Plaintiff
Fogel is a resident domiciled in New Mexico. Defendant Gordon & Glickson, P.C. is an Illinois
Professional Corporation with its principle place of business m [Jlinots. Defendant Gordon &

Glickson, L.L.C, is an Illinois Limited Liability Corporation with its principle place of business in
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Illinois. Upon information and belief all Equity Holders are Illinois residents. The matter in
controversy is in excess of $75,000.00, exclusive of interest and costs.

Subject matter jurisdiction exists in the United States District Court of the Northern District
of Illinois, pursuant to 28 U.S.C. § 1332, as the events complained of occurred within the State of
Illinois.

GENERAL ALLEGATIONS

l. The principal business of the P.C. is the practice of law and the Equity Holders
possess 100% of the equity in the P.C. as sharehoiders.
2. The principal business of the L.L.C. is the practice of law and, as of December 31,

1999, the Equity Holders and Fogel possessed 100% of the equity in the L.L.C. as its "Members."

3. The Equity Holders are attorneys licensed to practice law in the State of Iflinois.
4, In March 1986 Fogel joined the P.C. as an associate attorney.
5. In January 1991 Fogel became an “income partner” at the P.C.

6. In January 1993 Fogel became an equity shareholder of the P.C. purchasing 2,500
shares for $2,500.00 pursuant to a written employment agreement (hereinafter the "Employee
Agreement"), a copy of which is attached as Exhibit A.

7. In 1997 and 1998, respectively, the P.C. created an "investment pool" for its equity
shareholders comprised of stocks and stock options received or otherwise purchased from various
corporate clients. The P.C. acquired the investment pool stocks and stock options in several ways,
including outright purchase using P.C. funds that may have been otherwise distributed to the equity
shareholders as additional compensation. Additionally, MARK L. GORDON, as nominee for the

P.C., held certain stock options for benefit of the P.C.
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8. The 1997 and 1998 investment pools were assets of the P.C., subject to the claims
of the P.C.'s general creditors.

9. The equity shareholders of the P.C., including Fogel, each had an agreement with
the firm entitling them to a payment of their share of each investment pool upon leaving the firm.

10, The P.C, managed the 1997 and 1998 investment pools through an "Asset
Management Committee” comprised of MARK L. GORDON, PHILIP P. McGUIGAN and
MICHAEL E.C. MOSS. The Asset Management Committee handled all transactions on behalf of
the firm with respect to the investment pools and periodically issued spreadsheet reports to the P.C.'s
equity shareholders detailing the estimated current fair market value of investment pool assets and
detailing each equity shareholder's interest in the respective investment pool corpus.

11. On April 30, 1999 the firm reorganized its operations, assets and liabilities
transferring general operations, assets and liabilities from the P.C. to the newly created L.L.C.

12. At the time of reorganization the equity shareholders of the P.C., including Fogel,
became the "Members" of the newly created L.L.C.

13. The same individuals that comprised the P.C.'s "Asset Management Committee"
becaine the members of the L.L.C.'s "Investment Committee" for purposes of managing the L.L.C.'s
investment pool assets. Their duties and responsibilities as members of the newly formed L.L.C.
Investment Committee were identical to those of the P.C.’s Asset Management Committee.

14. In connection with the reorganization, in 1999 certain stock and stock options of the
P.C.'s 1997 and 1998 investment pool corpus were transferred from the P.C. to the L.L.C.
(hereinafter referred to as the L.L.C.'s "initial investments") while certain stocks and stock options

remained in the 1997 investment pool of the P.C. The initial investments and the investments

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received by the L.L.C. in 1999 were all accounted for by the L.L.C. in separate 1997, 1998 and 1999
investment pools in the same manner that had been previously utilized by the P.C.

15, At the time of reorganization it was determined by the “Asset Management
Committee/Investment Committee" members that certain cash and securities were not to be
transferred from the P.C. to the L.L.C., but were to remain in the P.C. to satisfy select current and
future obligations of the firm.

16. At its inception, the L.L.C. formed a "Management Commitiee" comprised of
individual members MARK L. GORDON, MICHAEL E. C. MOSS, PHILIP P. McGUIGAN AND
DIANA J.P. McKENZIE. The firm's L.L.C.’s Management Committee's makeup, duties and
responsibilities were substantially the same as the P.C.'s Management Committee.

17. On September 27, 1999 Fogel provided written notice of withdrawal from the L.L.C.,
to be effective December 31, 1999 (attached as Exhibit B).

18. On December 15, 1999 Fogel provided an amended written notice of withdrawal to
be effective January 14, 2000 (attached as Exhibit C). Fogel ceased practicing law as a member of
the firm as of January 14, 2000.

19. At the time of Fogel's withdrawal from the firm in January 2000, his pro rata
ownership interests in the combined investment pool assets was determined by the firm to be
$462,570.87.

20. In March 2000 the P.C.'s Asset Management Committee and/or L.L.C.'s Investment
Committee converted to cash certain stocks and stock options maintained in the P.C.'s 1997
investment pool. The conversion of the corpus of the 1997 P.C. investment poo! to cash, in an

amount in excess of one million dollars ($1,000,000.00), was then distributed by the Management
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Committee to the Equity Holders only, knowmgly leaving the P.C.'s 1997 and 1998 investment
pools with insufficient assets to meet known existing debt obligations to Fogel.

21. At the time of the distribution of the corpus of the P.C.'s 1997 investment pool to the
Equity Holders, Fogel was known by the Equity Holders to be the sole creditor of the P.C.

22. At no time before, or concurrent with, the firm's distribution of the corpus of the
P.C.'s 1997 investment pool to the Equity Holders was Fogel provided notice that after such
distribution there would be insufficient assets in the P.C. to satisfy the firm's acknowledged debt to
Fogel.

23. In December of 2000 both the P.C. and L.L.C. informed Fogel that all existing firm
debt obligations to Fogel would be satisfied.

24, On or about January 9, 2002 Fogel received a letter from Maureen T. Feltman, firm
administrator for the P.C. and L.L.C., indicating that there remained insufficient assets in the P.C.
to satisfy existing debt obligations to Fogel (attached as Exhibit D).

25.  Asof December 31, 2002 the collective investment pool assets owed to Fogel were
$290,669.19, including assets of $252,957.76 from the 1997 investment pool.

COUNT I- FRAUD
(All Defendants)

20. Plaintiff incorporates by reference the allegations contained in paragraphs 1-25 as
though fully set forth in this Count I.

27. The P.C. and L.L.C., through their respective authorized agents, and the Equity
Holders collectively and individually, conveyed false statements of material fact and/or failed to

convey material facts to Fogel to induce Fogel to forego taking timely action to obtain owed
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investment pool assets, when they knew that by so doing the corpus of the P.C.'s 1997 investment
pool was depleted, or would be depleted, so that Fogel’s known deferred asset distributions could
not be satisfied.

28. Fogel reasonably relied upon the Defendants’ statements regarding the ability of the
assets Contained in the firm's investment pools (a portion of which was Fogel's) to satisfy the debt
owed to him, and further relied upon Defendants’ assurances that the corpus of the investment pool
would be maintained in a manner so as to satisfy the recognized amounts owed to him,

29. Fogel, as a result of his reliance on the false statements of Defendants, was damaged
in that he did not receive amounts owed to him directly from assets contained in the P.C.'s 1997
investment pool.

WHEREFORE, RICHARD L. FOGEL, requests judgment be entered in his favor and against
Defendants, GORDON & GLICKSON, P.C., GORDON & GLICKSON, L.L.C., MARK L.
GORDON, SCOTT L. GLICKSON, PHILIP P. McGUIGAN, DIANA J.P. McKENZIE, MICHAEL
E.C, MOSS, and STUART SMITH, in an amount in excess of $75,000.00, plus costs and for such
other or further relief as this Court deems equitable and just.

COUNT IT - CONVERSION
(Equity Holders)

30. Plaintiff incorporates by reference the allegations contained in paragraphs 1-25 as

though fully set forth in this Count IL.
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31. The Equity Holders assumed unauthorized and wrongful control, dominion, and/or
ownership of Fogel's assets from the P.C.'s 1997 investment pool when they collectively depleted
investment pool assets in excess of $1,000,000.00, thereby leaving insufficient assets remaining in
the investment pool to meet known obligations to pay Fogel.

32. Fogel had aright to his pro rata portion of the assets contained in the investment pools
by virtue of his employment and deferred compensation agreements with the P.C. and the L.L.C.

33. Upon providing his notice of withdrawal from the L.L.C., in] anuary of 2000, Fogel
had immediate, absolute and unconditional ownership rights to his share of the then existing assets
of the firm's investment pools.

34. Upon cessation of payment of amounts owed from the 1997 investment pool, Fogel
demanded of the Defendants his rights in the remaining $252,957.76 still owed to him from the 1997
investment pool. Said demand has not been satisfied by any Equity Holder.

WHEREFORE, RICHARD L. FOGEL, requests judgment be entered in his favor and against
Defendants, MARK L. GORDON, SCOTT L. GLICKSON, PHILIP P. McGUIGAN, DIANA J.P.
McKENZIE, MICHAEL E.C. MOSS, and STUART SMITH, in an amount in excess of $75,000.00,
plus costs and for such other or further relief as this Court deems equitable and just.

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By: ‘

Y One of His Attotneys | ~
Mark S. Grotefeld
Shantel D. Wood

GROTEFELD & DENENBERG, L.L.C.
105 West Adams Street, Suite 2300
Chicago, IL 60603

(312) 551-0200

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EMPLOYMENT AGREEMENT

THIS AGREEMENT ("Agreement" herein) is made as of the lst day
of January, 1993 between GORDON & GLICKSON P.c., an Illinois
‘professional corporation ("Company" herein) and RICHARD L. FOGEL
("FOGEL" herein), with reference to the following facts:

A. FOGEL has been employed by the Company as an attorney,
which position involves the practice of law and executive,
managerial and operational responsibilities.

B. The experience of FOGEL makes him valuable to the Company
as he has practiced law and managed his responsibilities in a
capable and efficient manner which has led to substantial gains to
the Company.

Cc. The Company desires to continue to retain the services of
FOGEL and, accordingly, FOGEL and the Company wish to reflect
certain agreements regarding their relationship.

1. Employment.

1.1 For the term (as hereinafter defined) and upon the
conditions hereinafter set forth, Company hereby employs FOGEL as
an attorney and an Executive Employee of Company, and FOGEL hereby
accepts such employment upon the terms and conditions hereinafter
set forth and shall perform such duties as the Board of Directors
of Company shall, from time to time, direct. As used herein,
"Executive Employee" means any active or inactive employee of the
Company who is or was an officer of the Company during any part of
his or her employment.

1.2 FOGEL shall hold the position of Vice-President and
serve as a director of Company, and FOGEL agrees to serve in those
capacities at the pleasure of the Board of Directors. and
Shareholders, respectively.

1.3  FOGEL shall devote his full productive time (except
for such vacation periods as are hereinafter provided for), energy
and abilities to the proper and efficient management of the Company
in order to promote the best interests and welfare of the Company
and its clients. However, nothing contained herein shall prevent
FOGEL from engaging in activities of a personal nature, or
investing in any form of investment for his own benefit, provided
such activities do not interfere with FOGEL's services to be
rendered hereunder.

2. Term of Employment.

FOGEL's term of employment under this Agreement ("Term"
herein) shall be deemed to have commenced as of March 3, 1986
(which includes certain credit for prior service or its equivalent)

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‘and shall continue until terminated in accordance with the
provisions of this Agreement.

3. Compensation.

3.1 As consideration for FOGEL's services under this
Agreement, Company shall pay FOGEL as compensation during each
. fiscal year of the Company ("fiscal year" herein), throughout the

Term of this Agreement in an amount equal to that determined by the
Board of Directors of the Company at the beginning of each fiscal
year to be paid in a manner (but not necessarily in an amount)
consistent with the method of payment of compensation to other
Executive Employees of the Company as such method has been adopted
by the Board of Directors. In the event the Term shall end on
other than the last day of the fiscal year, compensation shall be
determined for the period commencing with the first day of the
fiscal year in which the Term ends and ending with the last day of
the Tern.

3.2 FOGEL shall also be reimbursed during the Term of
this Agreement for all reasonable and necessary out-of-pocket
expenses incurred by him in connection with the performance of his
duties under this Agreement, provided that the Board of Directors
ef the Company has adopted a policy providing for such
reimbursement of expenses. ,

3.3 “Accumulation Account" distributions shall not be
deemed "compensation" for any purpose under this Agreement and is
only payable at the discretion of the Board of Directors and shall
not be deemed earned pro-rata or on any other predetermined basis.

4, Vacation.

For the Term of this Agreement, FOGEL shall be entitled to a
vacation of no less than three weeks (or such greater amounts of
time as may be permitted by the Board of Directors) for each fiscal
year; provided, however, vacation cannot be accrued from year to
year and any vacation not taken in any given year will be deemed
forfeited. During such vacation periods, FOGEL's compensation set
forth above shall be paid in full.

5. Retirement and Disability

5.1 FOGEL shall be compelled to retire on June 11, 2027,
provided, however, that FOGEL shall be allowed to voluntarily
retire at any time after June.11, 2022, upon giving four (4) months
written notice to the Company of his intention to do so. Upon any
such retirement, FOGEL's employment with the Company shall be
deemed terminated. .

5.2 The Company shall maintain disability insurance
coverage policies (the "Disability Policies") for FOGEL (if, and

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only if, FOGEL is insurable and the rates are acceptable to the
Company) and if by reason of illness or any disability, physical or
mental (as determined under the Disability Policies and referred to
herein as "Disability"), FOGEL is unable to carry on his duties on
behalf of the Company during the Term, the Company will provide
assistance to insure that any and all Disability benefits under
said policies are made available and paid directly to FOGEL;
‘provided, however, the Company shall pay to FOGEL any amounts
necessary so that during such Disability FOGEL will receive no less
than (a) full compensation as provided by subparagraph 3.1 above
for the first (6) months of the Disability, (b) no less than
seventy-five percent (75%) of such compensation for the next six
(6) months of the Disability; and (c) no less than fifty percent
(50%) of such compensation for, the next six (6) months of the
Disability. Should FOGEL's Disability continue through these six
(6) months periods, the Company shall then have the right to compel
FOGEL to retire effective upon the exercise of said right and, in
such event, his employment with the Company shall be deemed
terminated; provided any remaining benefits of the Disability
Policies shall continue to belong to FOGEL.

6. Withdrawal and Other Termination.

6.1 FOGEL may terminate his employment with the Company
at the end of any fiscal year ("Withdrawal" herein) by giving three
(3) months' written notice to the Company prior to the end of such
fiscal year of his intention so to do.

6.2 Company may terminate FOGEL's employment with the
Company upon sixty (60) days written notice for any reason
whatsoever; provided, however, the Company's decision to so
terminate FOGEL's employment must either be based upon an
affirmative vote of a majority of the Board of Directors or a two-
thirds vote of the shareholders of the Company.

6.3 Upon notice being given either pursuant to
subparagraphs 6.1 or 6.2 hereof, Company shall have the right to
require FOGEL to vacate his office and Company's facilities at any
time it wishes after such notice has been given; provided, however,
the exercise of this right shall not limit FOGEL's rights to due
and unpaid compensation.

7. Arbitration.

If any dispute arises between FOGEL, a recipient or his
beneficiaries, on the one hand, and Company, on the other hand, as
to any sums due FOGEL under this Agreement, and such dispute cannot
be resolved between the parties, at the written request of either
party the dispute shall be referred to an arbitrator mutually
agreeable to both parties, and in the absence of such agreement, to
arbitration under the rules of the American Arbitration
Association. The arbitrator shall be selected no later than thirty

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(30) days following the written request therefor. The fee of the
arbitrator shall be paid entirely by the party whose position is
not upheld by the arbitrator; provided, however, that in the event
the arbitrator finds that the sum due FOGEL exceeds the amount
offered by the Company prior to the arbitration hearing by more
than FIVE HUNDRED DOLLARS ($500.00), the entire fee of the
arbitrator shall be borne by Company, but if the amount found due
exceeds the amount offered by less than FIVE HUNDRED DOLLARS
($500.00), the fee of the arbitrator shall be shared equally by
both parties. No other joint expenses shall be incurred except by
mutual written agreement of both parties to the dispute. The award
of the arbitrator shall-be final and binding on both parties. The
arbitrator shall have no power to alter, add te or subtract from
the terms of this Agreement, and the arbitrator's decision shall be
based wholly on the evidence and arguments presented to him by the
parties in the presence of each other.

8. Notices.

Any and all notices, demands or other communications required
or desired to be given hereunder by any party shall be in writing
and shall be validly given or made to another party if served
either personally or if deposited in the United States mail,
certified or registered, postage prepaid, return receipt requested.
If such notice, demand or other communication be served personally,
service shall be conclusively deemed made at the time of such
personal service. If such notice, demand or other communication be
given by mail, such shall be conclusively deemed given forty~eight
(48) hours after the deposit thereof in the United States mail
addressed to the party to whom said notice, demand or other
communication is to be given as hereinafter set forth:

To Company: 444 N. Michigan Avenue
36th Floor
Chicago, Illinois 60611

To FOGEL: . 175 N. Harbor Drive, #5504
Chicago, Illinois 60601

Any party hereto may change its address for the purpose of
receiving notices, demands and other communications as herein
provided by a written notice given in the manner aforesaid to the
other party or parties hereto.

9. Applicable Law and Severability.

This document shall, in all respects, be governed by the
laws of the State of Illinois applicable to agreements executed and
to be wholly performed within the State of Illinois. Nothing
contained herein shall be construed so as to require the commission
of any act contrary to law, and wherever there is any conflict
between any provision contained herein and any present or future

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statute, law, ordinance or regulation contrary to which the parties ©
have no legal right to contract, the latter shall prevail but the
provision of this document which is affected shall be curtailed and
limited only to the extent necessary to bring it within the
requirements of the law.

10. Further Assurances.

Each of the parties hereto shall execute and deliver any
and all additional papers, documents and other assurances, and
shall do any and all acts and things reasonably necessary in
connection with the performance of their obligations hereunder and
to carry out the intent of the parties hereto.

11. Attorneys' Fees.

Without in any way limiting the provisions of Paragraph
7 hereof, in the event any action be instituted by a party to
enforce any of the terms and provisions contained herein, the
prevailing party in such action shall be entitled to such
reasonable attorneys' fees, costs and expenses as may be fixed by
the Court.

12. Modifications or Amendments.

No amendment, change or modification of this document
shall be valid unless in writing and signed by all of the parties
hereto.

13. Successors and Assigns.

All of the terms and provisions contained herein shall
inure to the benefit of and shall be binding upon the parties
hereto and their respective heirs, personal representatives,
successors and assigns.

14. Entire Agreement.

This document constitutes the entire understanding and
agreement of the parties with respect to the matters contained
herein and any and all prior agreements, understandings or
representations are hereby terminated and canceled in their
entirety and are of no further force or effect.

15. Captions.

The captions appearing at the commencement of the paragraphs
hereof are descriptive only and for convenience in reference.
Should there be any conflict between any such caption. and the
paragraph at the head of which it appears, the paragraph and not
such caption shall control and govern in the construction of this
documents.

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IN WITNESS WHEREOF, the parties hereto have exe is
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Agreement as of the date first hereinabove set forth. *

GORDON & GLICKSON P.c.

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Secretary

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September 27, 1999 Wrirer’s Direct Dian
312.321.7662
Wrirer's DIRECT E-MIL
RLFOGEL@OGTECH.COM

CERTIFIED MAL — RETURN RECEIPT REQUESTED

Gordon & Glickson LLC
Management Committee

Mr. Mark L. Gordon, Chairman
444 North Michigan Avenue
Suite 3600

Chicago, IHinois 60611

Re: Notice of Withdrawal

Dear Mark,

During the last fourteen years, I have dedicated my career to building Gordon & Glickson into a
leader in providing legal services to the information technology market. I have been successful
in transforming both my career and our practice, and am grateful for the opportunity to have
worked with you, my partners, the firm’s clients, and others along the way. It is now time for me
to move in a new direction. At this point in my career I have made a decision to focus my

creative talents on expanding Motivity Incorporated, the business my wife founded several years
ago.

Accordingly, to confirm our conversation on Sunday September 26, 1999, and pursuant to the
Gordon & Glickson LLC Operating Agreement dated April 30, 1999 (“Operating Agreement”),
and the terms of my Employment Agreement dated January 1, 1993 (“Employment
Agreement”), and any other firm agreements to which I am subject, I hereby provide advance
notice of my withdrawal from the firm, effective at the close of business on December 31, 1999,
in accordance with the terms of the Operating Agreement and Employment Agreement.

Prior to the effective date of my withdrawal, I wish to use certain accrued but unused vacation
time that I have earned. I am currently scheduled to take these vacation days from December 27
through December 31, inclusive. This year-end vacation has been scheduled for some months
now and was scheduled during the same period that I scheduled my vacation last year. I will, of
course, continue to fully perform my obligations to the firm through my effective date of
withdrawal and do what is necessary with respect to the transition of my firm duties to others
designated by the firm’s Management Committee. To the extent that my continuing involvement
in transition matters is needed beyond December 31, 1999, I will continue to cooperate,

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Mr. Mark L. Gordon, Chairman’
September 27, 1999
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I know that there are many matters that we will discuss in the coming months with respect to my
transition, year-end distributions, and liquidation of my Member’s interest, Investment Pool
Payout, and Additional Amount (as defined in the Operating Agreement), and I believe that such
matters are best handled in personal discussions among long-time partners rather than in this
formal notice of withdrawal. I look forward to our transition discussions.

Sincerely, t
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Case: 1:03-cv-01617 Document #: 1 Filed: 03/05/03 Page 16 of 21 PagelD #:16

o™

December 15, 1999

Gordon & Glickson LLC
Management Committee
Mark Gordon, Chairman

RICHARD L. FOGEL
175 NorRTH HARBOR DRIVE
APARTMENT 5504
CHICAGO, ILLINOIS 60601
312.616.1317

444 North Michigan Avenue, Suite 3600

Chicago, Illinois 60611

Dear Mark,

i

Z 174 Sb 4

US Postal Service
Receipt for Certified Mail

No Insurance Coverage Provided.
Do not use for intemational Mail (See reverse)

54

Sent to

MERI GORI) Cnebo) bLscKsel

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Special Delivery Fee

Restricted Delivery Fee

Retum Receipt Stowng to
Whom & Date Delivered

PS Form 3600, April 1995

After further reviewing my situation and the firm’s agreements, | am amending my date
of withdrawal from December 31, 1999 to the close of business on January 14,2000. As
indicated in my previous letter dated September 27, 1999, I will continue to perform my
obligations to the firm through my effective date of withdrawal (i.e., January 14, 2000),

and will continue to help

Sincerely,

fk.

Richard L. Fogel

Received:

Mark L. Gordon

Date

Is your RETURN ADDRESS completed on the reverse side?

with any transition issues.

SENDER:

O Complete items 1 and/or 2 for additional servicas.
Completa items 3, 4a, and 4b.

card to you.

Parmit,

delivered.

O Print your name and addrass on the reverse af this form 50 {hal we can‘relum this
G Altach this form to the front of lhe mailpiace, or on the back if space does nol

0 Write "Rerum Receipt Requested" on the mailpiece below the article number,
0 The Return Receipt will show to whom the article was delivered and the date

ing services (for an extra fee):

1. OC Addressee's Address
2. 0 Restricted Delivery

| also wish to receive the follow- -

3. Article Addressed to:

WARK L. Gopbon
GORDO) + bLiCk Savy

4a. Article Number

ZiT she 79¥

Ab. Service Type

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Yaeh r. Mid Kiéwh? ME, Sut CO Express Mail 0 Insured
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22/94

5, Received SF Ca PAN 8. Pir, Address (Only if requesiad and

2) ‘at fee is paid)

6. acute (Addressee or Agant)

PS Forn 3811, December 1994

102595-99-8-0223 Domestic Return Receipt

EXHIBIT

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Case: 1:03-cv-01617 Document #: 1 Filed: 03/05/03 Page 17 of 21 PagelD #:17
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GORDON & GLICKSON P.C.
a.

AT Ren iON aD Coiaicen AL iGgNtis st Lan

CHICAGO

444 NORTH MICHIGAN AVENUE
SUITE 3600

CHICAGO. ILLINOIS 60611-3903
TELEPHONE: 312 421-4700
FAX: Al 331.0334

WRITERS OIREGT DUAL,
(312) 321-7669
WRITER S DIRECT INTLRNET

mtfeltman@getech.com
January 9, 2002

Via FEDEX
Mr. Richard L. Fogel

3 East Sunrise Drive
Santa Fe, NM 87501 _

Dear Rich:

Enclosed is a check from Gordon & Glickson P.C. made payable to you in the amount
of $9,780.44, In accordance with all prior payments, the appropriate deductions have been
made. This represents interest due through December 31, 2001, and a final principle payment.
The P.C, no longer has any funds or assets except for a small reserve fund, which is being
maintained for its expenses. This payment is being made, of course, subject to all of our prior
correspondence to you with respect to these matters. We apologize for the short delay in
forwarding this to you, which was related exclusively to finalizing year-end activities and travel
schedules.

Very truly yours,

Maureen T. Feltman

/mtf
Enclosure

cc: Mr. Michael E.C. Moss

EXHIBIT

PLEASE REPLY TO CHICAGO OFFICE mpl
INTERNET ge@@gutech.com
Www. ggtech. com

Bp: SRB pRiFlouF Og ERs y: + Filed: 09/05/RaPARGRoStAteNneric!®

aon ol -—
. ®
GORDON & GLICKSON, P.C. Period Ending: 12/31/2001
444 N. MICHIGAN AVE, SUITE 3600
CHICAGO, IL 60677 Pay Date: 12/31/2001
Social Security Number: XXX-XX-XXXX RICHARD L FOGEL
Taxable Marital Status: Married 3 EAST SUNRISE
Exemptions/Allowances: SANTA FE NM 87501
Federal: 7
Iu 7
Earnings rate houra this period year to date
Rich 2, 530. 32 120,870.18
Sf Osa Sa. 120,870.18
Deductions Statutory
Federal income Tax -2,408.97 23,152.08

_IL State. Income Tax . 2. MOO BBB Oe oe

Your federal taxable wages this period are |
$12,530.32

ono? we.

GORDGN gi Giickson, | P.c.
444..Ne pMIGFIGAN ‘AVE, ‘SUITE 3600 Pay date:

"This amount:

. LASALLE NATIONAL BANK °
: CHICAGO, IL ‘

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SF SLT eM SRS SERCO SE STEER

Case: 1:03-cv-01617 Document #: 1 Filed: 03/05/03 Page 7

Criginal Amount
6-13-01 Payment
6-30-01 Payment
9-30-01 Payment
Balance

less 12-31-01 Payment
12-31-01 Balance

Year 2001

- 10-1-01 to 10-3-01

10-4-01 to 11-6-01
11-7-01 to 12-11-01
12-12-01 to 12-31-01
Total

Principal
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Total

on™

349,436.64

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Rates Days
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0.0550 34
0.0500 35
0.0475 20

92

9,119.72
3,410.60
12,530.32

ae

Annual [Interest Due
15,724.65 129.24
14,414.26 1,342.70
13,103.87 1,256.54
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of 21 PagelD #:19
Case: 1:03-cv-01617 Document #: 1 Filed: 03/05/03 Page 20 of 21 PagelD #:20

/ (ev, 1178 ~~ CIVIL COVER SHEET>

“Tha JS-44 civil cover sheet and the information WWitained herein neither replace nor supplement the filing and service of pleadings or other papers as require

by law, except as provided by local rules of court, This form, approved by the Judicial Coriferance of the United States in September 1974, is required for the us
of the Clerk of Court far the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. (a) PLAINTIFFS . DEFENDANTS Gordon & Glickson, P.C.

i Gordon & Glickson, L.L-C., Mark L.
Richard L. Fogel : ee

g . Gordon, Scott L. Glickson, Philip F.-

Rs McGuigan, Diana J.P. McKenzie, Michael
E.C., Moss, and Stuart Smith
({B) GOUNTY OF RESIDENCE OF FIAST USTED PLAINTIFF COUNTY OF RESIDENCE OF FIRST USTED DEFENDANT

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY}

NOTE: IN LAND CONDEMNATION CASES. USE THE LOCATION OF THE
TRACT OF LAND INVOLVED. .

(C) ATTORNEYS (FIRM NAME. ADDRESS. AND TELEPHONE NUMBER) TT

Mark S. Grotefeld & Shantel D. Wood “FY en

Grotefeld & Denenberg, LLC o oD 8C fr .

105 W. Adams St., Ste. 2300 oS #O | ”
oF

Chicago, IL 60603 (312) 551-0200

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il. BASIS OF JURISDICTION (PLACE AN "X"INONEBOXONLY) | JIL, CITIZENSHIP OF PRINCIPAL EAATIESIO Ey meeorage PLAINTIF
{For Diversity Cases Only) AND ONE NT)
PTF DEF PTE DEF
O1 U.S, Government D3 Federal Question Citizen of This State G1 1 [ncorporated or Principal Place O4
Plaintiff tS. Government Not a Party} of Business In This State
Oz U.S. Goverment a etsity Citizen of Another State Xe O2 Incorporated and Principal Place O5 O15
Defendant ( Indicate Citizenship of Parties of Business In Another State
in tem . . . .
} Chizen or Subject of a3 O3 Foreign Nation o8 oe
Foreign Country
IV. ORIGIN {PLACE AN °X" IN ONE BOX ONLY) Appeal to Distric’
. . Transferred from oo Judge trom
mM Original o2Removedtrom o3Remandedfrom 4 Reinstated or Os another district os Muttidistrict O7 Magistrate
Proceeding State Court Appellate Court Recpened (specify) Litigation Judgment
V. NATURE OF SUIT (PLACE AN ‘XIN ONE BOXONLY) © ~ " Mee m
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY '_OTHER STATUTES
O 110 insurance PERGONAL INJURY PERSONAL INJURY O 8t0 Agreuture O 422 Appeal 28 USe 158 0 400 Stata Reappotionmem
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©] 240 Torts 10 Land | Agcommedaiions 0530 General D 790 Omer Labor Ligation | 6 e75 tases (U.S, Plaintm Sate Sates
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C) 200 All Caner Real Propeny O 440 Other CMI Rights D 540 Mandamus & Other 0 7e1 Empl. Ret Inc DO 871 IRS —- Third Party - ‘
U0 850 CM Rights . Sacumy Act BB USC 7808

Vi. CAUSE OF ACTION (cme THE US. CW STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF GAUSE.
DO NOT CITE JURISOIGTIONAL STATUTES UNLESS DIVERSITY)

Pursuant to 28 U.S.C. Section 1332 Plaintiff seeks recovery of personality base
upon common law fraud and conversion of personality by Defendants.

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Vil. REQUESTED IN CHECK IF THISISACLASS ACTION DEMAND $ CHECK YES ony it dergancied in complaint
COMPLAINT: 0 UNDERFRGP23 252,957.76 JURY DEMAND: Eres xno
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VIN.RELATED CASE(S) (See instructions): on Ose)
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Case: 1:03-cv-01617 Document #: 1 Filed: 03/05/03 Page 21 of 21 PagelID #:21
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
Richard L. Bogel JUDGE JOAN H. LEFKOW

Vv.

Gordon & Glickson, B.C., Gordon & oo.
Glickson, L.L.C., Mark L. Gordon, a
Scott L.-Glickson, Philip P. McGuigan?ase Number:
Diana J.P. McKenzie, Michael E-.C. Moss,
and Stuart Smith . '

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED.AS ATTORNEY(S) romisTRen py ce MASON

Richard L. Fogel , ey, bs
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OO 75 Mp

TP...
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A itn 6) LS Li
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name —
Mark S. Grotefeld Shantel D. Wood
FIRM FIRM
Grotefeld & Denenberg, LLC Grotefeld & Denenberg, LLC
"STREET ADDRESS " STREET ADRESS
105 W. Adams St., Ste. 2300 105 W. Adams St., Ste. 2300
CITYATATE/ZP CITY/STATE/ZIP
Chicago, IL 60603 Chicago, IL 60603
TELEPHONE NUMBER ™ TELEPHONE NUMBER
(312) 551-0200 (312) 551-0200
IDERTIFEATION NUMBER (SEE ITEM 4 ON REVERSE) R N 7
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DESIGNATED AS LOCAL COUNSEL? YES Oo NO 5
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PLEASE COMPLETE IN ACCORDANCE WITH INSTRUCTIONS ON REVERSE. J

